      Case 9:23-bk-10324-RC        Doc 11 Filed 05/24/23 Entered 05/24/23 14:44:16               Desc
                                    Main Document Page 1 of 2
                               Elizabeth F. Rojas, Chapter 13 Trustee
                                   15260 Ventura Blvd., Suite 710
                                     Sherman Oaks, CA 91403
                               (818) 933-5700 Office (818) 933-5755 Fax


                       NOTICE/RE-NOTICE OF 341(a) MEETING
                           ZOOM ID AND INFORMATION

 Date & Time: JUNE 7, 2023 @ 10:30 AM


Case Number: 9:23-bk-10324-RC
Debtor(s): Ariadna David

Please upload at least two days prior to the meeting:
• Copy of Debtor(s) current/valid and Government issued photo identification.
• Evidence of Debtor(s) complete Social Security Number(s). A copy of a Social Security Card, W2, 1099 or
  other Government issued document is acceptable; tax returns are not.
• Plan payment(s) must be made through TFS BillPay. See pay.ch13wla.com for more info.
• Completed 341(a) Preparation Sheet.


• See Trustee's website for forms, payments, and document uploading: www.ch13wla.com
• Failure to upload documents timely may result in a continuance of hearing or dismissal of case .
• You will not be examined until all your technical issues are resolved .



Please be aware that you will be attending this meeting via Zoom Videoconference . Please prepare for
the meeting beforehand by visiting the Zoom website and testing whatever device you will be using to
                                         attend the meeting.



      Zoom Meeting URL:
      https://ch13wla.zoom.us/j/84056055595?pwd=THJTZ2hSVC9WODJObi9ISjFRcjV5UT09

      Meeting ID: 840 5605 5595
      Password: 443491

      Dial-in (if not using Zoom App): (669) 900-6833

      **For help getting started with Zoom, visit: support.zoom.us




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        Case 9:23-bk-10324-RC                   Doc 11 Filed 05/24/23 Entered 05/24/23 14:44:16                                      Desc
                                                 Main Document Page 2 of 2
 In Re: Ariadna David                                                                          Chapter 13

                                                                               Debtor(s)       Case Number: 9:23-bk-10324-RC


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
15260 Ventura Blvd., Suite 710, Sherman Oaks, CA 91403


A true and correct copy of the foregoing document entitled: NOTICE/RE-NOTICE OF 341(a) MEETING ZOOM ID AND
INFORMATION will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
5/24/2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

UNITED STATES TRUSTEE (ND): USTPREGION16.ND.ECF@USDOJ.GOV
RABIN J POURNAZARIAN: ENOTICE@PRICELAWGROUP.COM

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 5/24/2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

ARIADNA DAVID, 1831 EARHART COURT, OXNARD, CA 93033

                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL :
Pursuant to F.R.Civ.P.5 and/or controlling LBR, on 5/24/2023, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method ), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


5/24/2023                    Roderick Mathieson                                               /s/ Roderick Mathieson
 Date                        Printed Name                                                       Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

 June 2012
                                                                                                F 9013-3.1.PROOF.SERVICE
